
By the Court.
Counsel resisting the motion to dis-
miss this appeal contends that the case at bar originated in the Court of Appeals and- therefore the motion is not well taken since this court has “appellate jurisdiction * * * in cases which originated in the Courts of Appeals * * V’
The petition in mandamus was filed in the Court of Appeals and the issues in the original proceeding were adjudicated by this court when the judgment of that court was affirmed. The relator is not entitled to a second appeal as of right to this court from the same judgment in a ease which originated in the Court of Appeals.
Counsel contends further that “this is an action which was originally filed in the Court of Appeals * '* * in the form of a motion * * #.”
No “case” originated in the Court of Appeals by the mere filing of such a motion.
The motion to dismiss the appeal is sustained.

Appeal dismissed.

Weygandt, C. J., Zimmerman, Bell, Williams, Matthias and Hart, JJ., concur.
Turner, J., not participating.
